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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                              WESTERN DIVISION


UNITED STATES OF AMERICA                           5:20-CR-50122
         Plaintiff                          DEFENDANT’S MOTION TO RECONSIDER
             v.                             ORDER 244, DENYING DEFENDANT’S
                                            SECOND MOTION TO CONTINUE TRIAL
KIMBERLEE PITAWANAKWAT                      DATE
        Defendant




                        EXHIBIT A




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 From:            William Teesdale
 To:              Jonathan McCoy
 Subject:         Pitawanakwat Discovery Review
 Date:            Monday, November 15, 2021 2:01:00 PM
 Attachments:     image001.png


 Kimberley reviewed discovery under my supervision from about 11:30 am until 2:00 pm.




 Testing of Spent Bullet


                                                                       I showed the picture of the spent bullet (see page 453) to a colleague of mine in the office who is a
 firearms instructor and who owns an AR 15. His view was that the bullet looks more like something from a handgun. I understand from Kimberlee that John Nixon has
 looked at the same picture and has the same preliminary opinion that it is more likely to be from a handgun, although of course he would need to look at the actual
 evidence to provide an opinion.

 I understand from Kimberlee that there is some disagreement about testing the bullet and wanted to mention that my view is that it should be tested by a qualified
 defense expert, such as John Nixon.


 Potential Bias of Dull Knife Witnesses
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 Regards,

 William

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